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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA

In re:                                                                         Bankruptcy Case No.: 17−10353
LMCHH PCP LLC                                                                           Chapter 11
Debtor
LMCHH PCP, LLC et al Plan Administrator
Plaintiff
  vs.                                                                          Adversary Proceeding No. 19−01028
Abbott Vascular
Defendant

                          SUMMONS IN AN ADVERSARY PROCEEDING

To: Abbott Vascular

YOU ARE SUMMONED and required to file a motion or answer to the complaint that is attached to this summons
with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the
United States and its offices and agencies must file a motion or answer to the complaint within 35 days.

                   Address of Clerk:
                   United States Bankruptcy Court
                   Eastern District of Louisiana
                   Hale Boggs Federal Building
                   500 Poydras Street, Suite B−601
                   New Orleans, LA 70130

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

                   Name and Address of Plaintiff's Attorney (or plaintiff, if unrepresented):
                   Tristan E. Manthey
                   Heller Draper Patrick Horn & Manthey LLC
                   650 Poydras Street
                   Suite 2500
                   New Orleans, LA 70130

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, JUDGMENT BY DEFAULT WILL BE TAKEN
AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

Date of Issuance: January 30, 2019                                                  /s/ Sheila Booth

                                                                               Clerk of the Bankruptcy Court
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                                 CERTIFICATE OF SERVICE

I,____________________________________ (name). certify that service of this summons and a
copy of complaint was made __________________________ (date) by:


    Mail service: Regular, first class United States mail, postage fully pre−paid, addressed to:


    Personal Service: By leaving the process with the defendant or with an officer or agent of
defendant at:


    Residence Service: By leaving the process with the following adult at:


     Certified Mail Service on an Insured Depository Institution: By sending the process by
certified mail addressed to the following officer of the defendant at:


    Publication: The defendant was served as follows: [Describe briefly]


   State Law: The defendant was served pursuant to the laws of the State of
____________________, as follows: [Describe briefly]


If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less that 18 years of age
and not a party to the matter concerning which service of process was made.
Under penalty of perjury, I declare that the foregoing is true and correct.


Date: _______________________________ Signature _______________________________


   Print Name: _____________________________________________

   Business Address: ________________________________________
